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                     UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT SCOTT, JR.,                         )       CIVIL NO. 4:21-CV-01985
             Plaintiff                     )
                                           )
       v.                                  )
                                           )       (ARBUCKLE, M.J.)
BLOSSBURG BOROUGH, et al.,                 )
            Defendants                     )
                                       ORDER

      For the reasons stated in the accompanying Memorandum Opinion, the

Plaintiff’s Motion to Preclude Seven Witnesses (Doc. 121) is GRANTED.

The Defendants may not call the following witnesses at the April 8, 2025, trial:

      (1)    Jill Nickerson;

      (2)    David Brann, Esq.;

      (3)    Chelsea Scott;

      (4)    Tonya McNamara;

      (5)    George Lepley, Esq;

      (6)    Charles Walters; or,

      (7)    Janelle LaMontagne.


Date: March 28, 2025                    BY THE COURT

                                        s/William I. Arbuckle
                                        William I. Arbuckle
                                        U. S. Magistrate Judge



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